DATE: May 4, 2021


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1.    W. Neil Wills
               v. Lisa J. Wills
               Record No. 0117-20-4
               Opinion rendered by Judge Beales on
               February 9, 2021

          2.    Lisa J. Wills
               v. W. Neil Wills
               Record No. 0144-20-4
               Opinion rendered by Judge Beales on
               February 9, 2021

          3.   Lamont Lendell Bagley
               v. Commonwealth of Virginia
               Record No. 0249-20-2
               Opinion rendered by Chief Judge Decker on
               February 23, 2021

          4.   Terrence D’Juan Blackwell
               v. Commonwealth of Virginia
               Record No. 0328-20-2
               Opinion rendered by Judge Russell on
               February 23, 2021

          5.   Juan Luis Lopez
               v. Commonwealth of Virginia
               Record No. 0266-20-1
               Opinion rendered by Judge Athey on
               March 2, 2021
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Jeffrey Scott Haas
    v. Commonwealth of Virginia
   Record No. 0621-18-2
    Opinion rendered by Chief Judge Decker
      on October 29, 2019
    Judgment of Court of Appeals affirmed in part and vacated in part by order entered
     on March 25, 2021 (191580)

2. John Carlos Bardales
    v. Commonwealth of Virginia
   Record No. 0455-19-4
    Opinion rendered by Judge Beales
     on April 7, 2020
    Refused (200962)
